                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                                      No. 17-CR-2045-LRR
 vs.                                                                      ORDER
 WILLIAM MARCELLUS CAMPBELL,
                  Defendant.


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                                        I. INTRODUCTION
         The matter before the court is Defendant William Marcellus Campbell’s Objections
(docket no. 145) to United States Chief Magistrate Judge C.J. Williams’s Report and
Recommendation (docket no. 135), which recommends that the court deny Defendant’s
Motion to Suppress Evidence (“Motion”) (docket no. 117).




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                   II. RELEVANT PROCEDURAL BACKGROUND
       On July 10, 2017, a grand jury returned an Indictment1 (docket no. 8) charging
Defendant with one count of conspiracy to distribute cocaine base, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, and two counts of distribution of cocaine base,
in violation of 21 U.S.C. §§ 841(a)(1) and 841(c)(1)(C). See Indictment at 2-3, 5, 8. On
December 26, 2017, Defendant filed the Motion. On January 2, 2018, the government
filed a Resistance (docket no. 127). On January 17, 2018, Judge Williams held a hearing
(“Hearing”) on the Motion. See January 17, 2018 Minute Entry (docket no. 131).
Defendant appeared in court with his attorney, Clemens Erdahl. Assistant United States
Attorney Emily Nydle represented the government. The Hearing on the issues raised in
the Motion was very brief. The Magistrate Judge relied on the information within the four
corners of the application for a Title III wiretap order (“Application”) 2 (docket no. 127-1)
in arriving at his decision. On January 22, 2018, Judge Williams issued the Report and
Recommendation, which recommends that the court deny the Motion. On February 5,
2018, Defendant filed the Objections. The matter is fully submitted and ready for
decision.
                             III. STANDARD OF REVIEW
       When a party files a timely objection to a magistrate judge’s report and
recommendation, a “judge of the court shall make a de novo determination of those
portions of the report or specified proposed findings or recommendations to which


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        On February 22, 2018, the government filed a Superseding Indictment (docket no.
170). The charges against Defendant remain unchanged. Compare Indictment at 2-3, 5,
8, with Superseding Indictment at 2-3, 6. The Superceding Indictment, therefore, has no
effect on the Motion.
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       The Application was supported by an “Affidavit in Support of Application”
(“Affidavit”). See Application at 15-65. References to the Application in this opinion
incorporate the Affidavit and the testimony contained therein.

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objection is made.” 28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b)(3) (“The
district judge must consider de novo any objection to the magistrate judge’s
recommendation.”); United States v. Lothridge, 324 F.3d 599, 600 (8th Cir. 2003) (noting
that a district judge must “undertake[] a de novo review of the disputed portions of a
magistrate judge’s report and recommendations”). “A judge of the court may accept,
reject, or modify, in whole or in part, the findings or recommendations made by the
magistrate judge.” 28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b)(3) (“The
district judge may accept, reject, or modify the recommendation, receive further evidence,
or resubmit the matter to the magistrate judge with instructions.”). It is reversible error
for a district court to fail to engage in a de novo review of a magistrate judge’s report
when such review is required. Lothridge, 324 F.3d at 600. Accordingly, the court
reviews the disputed portions of the Report and Recommendation de novo.
                    IV. RELEVANT FACTUAL BACKGROUND 3
       On October 24, 2016, the court issued a Title III wiretap order (“Order”)
authorizing the interception of communications over two target telephones (“TT3” and
“TT4”) that allegedly belonged to Defendant. Assistant United States Attorney Ravi T.
Narayan submitted the Application, which was supported by the Affidavit, which contained
sworn testimony from DEA Task Force Officer Bryan Furman. See Application at 15-65.
The testimony from Officer Furman addressed the existence of probable cause for the
issuance of the Order, the exhaustion of other investigatory methods that investigators had
previously attempted and the nonviability of additional investigatory methods that were not
attempted by investigators.


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        After reviewing the Hearing Transcript (docket no. 150), the court finds that Judge
Williams accurately and thoroughly set forth the relevant facts in the Report and
Recommendation. See Report and Recommendation at 2-9. Therefore, the court shall only
briefly summarize the facts here. When relevant, the court relies on and discusses
additional facts in conjunction with its legal analysis.

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       Officer Furman testified in the Application that on June 7, 2016 Defendant used
TT3 to contact a confidential source to arrange a drug transaction. During a controlled
buy, the confidential source purchased 3.5 grams of crack cocaine from Defendant. The
confidential source also informed investigators that he had previously purchased drugs
from Defendant on multiple occasions. On September 19, 2016, investigators arranged
for co-defendant Alexander Martin (“Martin”), who at that time was cooperating with the
investigation, to make a controlled purchase from Defendant. While arranging the sale
with Martin, Defendant used both TT3 and TT4. The same day, Martin purchased 3.5
grams of crack cocaine from Defendant during the controlled buy. Investigators had
previously identified Martin, through investigation and his own admission, as a retail-level
distributor in a drug organization. Investigators had gathered evidence indicating that both
Martin and Defendant worked under the direction of co-defendant Alston Campbell, Jr.
(“Campbell, Jr.”).
       Before seeking the Order, investigators had utilized multiple techniques to gather
information about Campbell, Jr.’s drug organization, but had been unable to achieve the
full goals of the investigation. For example, investigators had not determined the scope
of the drug organization, identified its suppliers and primary customers, located its
inventory or uncovered its financial workings. Investigators had previously engaged two
members of the drug organization as cooperators that provided information and
participated in controlled payments and purchases. Martin, the first cooperator, led
investigators to his supplier, co-defendant John Dwayne Phillips (“Phillips”), who also
cooperated with investigators. Martin and Phillips, however, both continued to participate
in uncontrolled criminal activity. Martin’s and Phillips’s lack of compliance with the
terms of their cooperation agreement forced investigators to stop using them as cooperators
because it indicated that they could no longer be trusted to participate in the investigation




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without exposing it. Investigators had not been able to develop any other confidential
sources from within the drug organization.
       Investigators employed a number of additional practices before seeking the Order,
and those practices had already provided all of the useful information they could. For
example, surveillance had aided in identifying retail-level distributors within the drug
organization, but was unable to lead investigators to the source of its supply. Cell site
location had allowed investigators to track the movements of individuals, but only while
they were using their cell phones; officers could not predict nor fully track their actions.
Pen registers had established that communications occurred and between which phone
numbers, but they did not reveal the contents of those communications. Trash searches
had provided no useful evidence. Executing search warrants yielded some results, but
investigators had been unable to identify major inventory locations, and the execution of
additional warrants risked exposing the larger investigation. If investigators continued to
use these methods, they were unlikely to gain any additional evidence about the drug
organization, and might have harmed the investigation by exposing it.
       Officer Furman also addressed other investigative techniques that had not been
attempted but which investigators did not believe would prove fruitful. For example, a
financial investigation using subpoenas and search warrants would only have been possible
after investigators had identified the location of the drug organization’s funds. Undercover
agents were unlikely to penetrate the drug organization to the level where they could
provide information about its higher-ranking individuals. Investigators believed that field
interviews and grand-jury subpoenas of persons associated with the drug organization were
of limited value because anyone interviewed would have a strong incentive to provide false
information to investigators. Further, the individuals questioned by investigators might
alert other members of the drug organization about the investigation. Accordingly, the low
chance of success did not justify the high risk.


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       The court considered the totality of Officer Furman’s testimony and found that
probable cause to issue the Order had been established. The court also found that a
wiretap order was necessary to the investigation because viable alternative investigative
means had been exhausted. The court, therefore, issued the Order. Over the course of
the next several months, investigators sought four extensions of the Order with respect to
TT3; investigators did not seek to continue intercepting communications of TT4. Each
subsequent application to extend the Order relied, in part, on evidence intercepted pursuant
to the Order and any extensions thereof.
                                      V. ANALYSIS
       Defendant enumerates three objections to the Report and Recommendation. First,
Defendant objects generally “to Sections II, III and IV of the Report and
Recommendation.” Objections at 1. Section II of the Report and Recommendation
contains a statement of the law that is generally applicable to the case. Section III contains
Judge Williams’s analysis of the specific issues in the case at bar. Section IV contains a
brief statement of his conclusions. Id. Second, Defendant objects specifically to Judge
Williams’s factual determination, in Section III(A), that the necessity requirement of 18
U.S.C. § 2518 was satisfied when the Order was issued. Id. Third, Defendant objects to
Judge Williams’s legal conclusion in Section III(B) that the Leon good-faith exception
would prevent suppression even if the Order were invalid. Although Defendant articulates
these as three objections, Defendant’s Brief in Support of Objections (docket no. 145 at
3-10) only addresses his objections to Sections III(A) and III(B). By not making a specific
objection, and not briefing and arguing the objection, to Section II, Defendant has waived
his objection and his right to a de novo review of that portion of the Report and
Recommendation. See Branch v. Martin, 886 F.2d 1043, 1046 (8th Cir. 1989) (holding
that objections to a magistrate judge’s report and recommendation must be sufficiently
timely and specific in order to trigger a de novo review by the district court). Therefore,


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the court shall conduct a de novo review of Sections III(A) and III(B) of the Report and
Recommendation. The court shall address each objection in turn.
                                A. Necessity Requirement
       A Title III wiretap order may only be issued in situations in which “normal
investigative procedures have been tried and have failed or reasonably appear to be
unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(3)(c). “If law
enforcement officers are able to establish that conventional investigatory techniques have
not been successful in exposing the full extent of the conspiracy and the identity of each
coconspirator, the necessity requirement is satisfied.” United States v. Turner, 781 F.3d
374, 382 (8th Cir. 2015) (quoting United States v. West, 589 F.3d 936, 939 (8th Cir.
2009)).   The facts establishing the necessity of the wiretap and the exhaustion of
alternatives must be present on the face of the application. See 18 U.S.C. § 2518(3)(c).
       The court is satisfied that the Application demonstrates necessity on its face. The
Application thoroughly sets forth the history of the investigation. Investigators had tried
a number of less-intrusive techniques to gather the necessary information, including
confidential sources, cooperating witnesses, surveillance and electronic tracking. The
Application is clear that the investigators had exhausted the usefulness of those methods,
and that there were no viable alternatives. Moreover, “the necessity requirement does not
mandate that the government ‘exhaust all possible techniques before applying for a
wiretap.’” United States v. Colbert, 828 F.3d 718, 725 (8th Cir. 2016) (quoting United
States v. Macklin, 902 F.2d 1320, 1326 (8th Cir. 1990)). Rather, “[the] necessity
requirement prevents the government from routinely using wiretaps ‘as the initial step in
an investigation.’” Id. (quoting United States v. Thompson, 210 F.3d 855, 858-59 (8th Cir.
2010)). The facts in this case clearly establish that a wiretap was not an initial step for the
investigators, but one that they only sought after other investigative techniques did not
achieve the goals of the investigation.


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       Defendant, however, objects to Judge Williams’s conclusion that the Application
demonstrated necessity because it does not state that Defendant and Campbell, Jr. have a
familial relationship.   See Objections at 8-9.     Defendant contends that the familial
relationship between Defendant and Campbell, Jr. was the investigators’ motivation for
seeking a wiretap on Defendant’s phone, as opposed to other targets, and that the failure
to disclose this motivation is fatal to the Order. See id. (“[T]he Government and its agents
denied the independent Magistrate the opportunity to determine whether familial
relationship was an acceptable basis for satisfying the necessity requirement[.]”).
Defendant contends that “the targeting of individuals primarily because they are family
members is an unconstitutional slippery slope.” Id. at 4. Defendant cites no case law
suggesting that the subjective motivation of law enforcement is relevant to a determination
of necessity.
       Defendant’s argument is misplaced.         The court must evaluate whether the
Application on its face met the necessity requirement. See United States v. Gonzalez Inc.,
412 F.3d 1102, 1112 (9th Cir. 2005) (“Only the evidence presented within the four corners
of the wiretap application can be used to evaluate necessity.”). Counsel for Defendant
conceded this point at the Hearing. See Hearing Transcript at 4. Defendant also cited the
above passage of Gonzalez in his Brief in Support of the Motion (“Brief”) (docket no.
118). See Brief at 12. The issue of Defendant and Campbell, Jr.’s familial relationship
is absent from the Application. Instead, it was raised for the first time by the government
its Resistance. See Resistance at 13 (citing “the potential familial relationship [between
Defendant and Campbell, Jr.] based on a shared last name” as evidence that the Order was
necessary). This extra-textual issue is not an appropriate consideration in evaluating the
necessity requirement.
       Omissions from a facially sufficient warrant may only form the basis of a challenge
to that warrant where “the police omitted facts with the intent to make, or in reckless


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disregard of whether they thereby made, the affidavit misleading, and . . . the affidavit if
supplemented by the omitted information would not have been sufficient to support a
finding of probable cause.” United States v. Reivich, 793 F.2d 957, 961 (8th Cir. 1986)
(citations omitted). Defendant bears the burden of proving both of these elements. Id.
Here, Defendant has not pled, let alone proven, either element. The court finds that there
is nothing in the record to indicate that this omission was made with the intent to mislead.
Moreover, the familial relationship between Defendant and Campbell, Jr. does not
diminish the validity of the Order.
       The “unconstitutional slippery slope” to which Defendant objects is a matter of
probable cause, not one of necessity. If investigators sought the Order solely because of
Defendant’s relationship to Campbell, Jr., without any other probable cause, that could
raise constitutional concerns. That did not occur in this case. Neither the Motion nor the
Objections allege that the Application lacked probable cause. The court also finds that the
Application presented facts establishing probable cause to issue the Order. Investigators
had information from confidential sources as to Defendant’s drug activity and engaged in
two controlled buys with Defendant, during which he used the target phones. This is
sufficient probable cause to meet the requirements of the statute. See United States v.
Thompson, 690 F.3d 977, 984-85 (8th Cir. 2012) (“The probable cause requirement in [18
U.S.C. § 2518] is linked to the Fourth Amendment. Thus, to grant an application for a
wiretap, district courts must make a ‘practical, common-sense decision whether,’
considering the ‘totality-of-the-circumstances . . . there is a fair probability that contraband
or evidence of a crime will be found . . . .’”) (second alteration in original) (quoting
Illinois v. Gates, 462 U.S. 213, 238 (1983)). Accordingly, Defendant’s objection is
overruled.




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                            B. Leon Good-Faith Exception
      Defendant objects to Judge Williams’s legal conclusion that, even if the Application
did not establish necessity, the Leon good-faith exception would save the fruits of the
Order from suppression. After engaging in a de novo review, the court finds that it is
unnecessary to decide whether Leon would apply if the necessity requirement had not been
met, because the court is satisfied that the necessity requirement of the Application was
met. The court finds no need to analyze of the applicability of the Leon good-faith
exception. The court declines to adopt Section III(B) of the Report and Recommendation.
Therefore, Defendant’s objection is overruled as moot.
                                  VI. DISPOSITION
      In light of the foregoing, the court ORDERS:
      (1)    The Objections (docket no. 145) are OVERRULED;
      (2)    The Report and Recommendation (docket no. 135) is ADOPTED IN PART;
             and
      (3)    The Motion to Suppress (docket no. 117) is DENIED.
      IT IS SO ORDERED.
      DATED this 3rd day of March, 2018.




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